             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                             Case No. 3:05cr25/LAC

WARD FRANKLIN DEAN,

      Defendants.
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                                         ORDER

      Defendant has filed objections to the Court’s order setting a hearing in this case

pursuant to Faretta v. California, 422 U.S. 806, 95 S.Ct. 2525, 45 L.Ed.2d 562 (1975).

While Defendant’s objections are noted, the hearing shall nonetheless be held, and

Defendant’s participation is expected.

      ORDERED on this 28th day of September, 2005.




                                                         s/L.A. Collier
                                                         Lacey A. Collier
                                                 Senior United States District Judge
